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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. Case No. ELH-l3-0512

Enzo Blanks

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ORDER APPOINTING FEDERAL PUBLIC DEFENDER

The above named Defendant having been found to be indigent and entitled to
appointment of counsel under the Criminal Justice Act, and the government having proffered that
they know of no conflict precluding appointment of the Public Defender,

lT IS ORDERED this _ day of November . 2018 , that the Federal Public

Defender for the District of Maryland is appointed to represent the above named Defendant.

 

U.S. District Cnurt (4!2000) Cn`minal Magistra!e Forms: Appointing Counscl

